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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA                                 NOV 2 0 2017
                           BILLINGS DIVISION
                                                                             Clerk, U S District Court
                                                                               District Of f.1ontana
                                                                                      Bilimgs

 UNITED STATES OF AMERICA,                      Cause No. CR 08-14-BLG-SPW
                                                          CV 16-86-BLG-SPW
              Plaintiff/Respondent,

       vs.                                    ORDER DENYING § 2255 MOTION
                                              AND DENYING CERTIFICATE OF
 JORDAN ADAMS,                                      APPEALABILITY

              Defendant/Movant.


      This matter comes before the Court on Defendant/Movant Jordan Adams'

motion to vacate, set aside, or correct the sentence under 28 U.S.C. § 2255. Adams

seeks relief under Johnson v. United States,_ U.S._, 135 S. Ct. 2551 (2015),

which was made retroactive to final judgments by Welch v. United States,_ U.S.

_, 136 S. Ct. 1257 (2016).

                             I.Procedural Background

      On January 17, 2008, Adams was indicted on one count of conspiracy to

violate the Hobbs Act, a violation of 18 U.S.C. § 1951 (Count 1); two counts of

Hobbs Act robbery, violations of 18 U.S.C. § 1951 (Counts 2 and 4); two counts of

using or carrying a firearm during and in relation to the robberies alleged in Counts

2 and 4, violations of 18 U.S.C. § 924(c)(l) (Counts 3 and 5); one count of being a

felon in possession of a firearm, a violation of 18 U.S.C. § 922(g)(l) (Count 7);

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and one count of possessing a stolen firearm, a violation of 18 U.S.C. § 922(j)

(Count 9). Adams was not named in Counts 6 or 8. Aiding and abetting was also

charged in Counts 2 through 5. See Indictment (Doc. 1) at 1-6.

        The parties reached a plea agreement. Adams agreed to plead guilty to

Counts 3, 4, and 5. Count 4 arose from robbery of a Town Pump Store in

Columbus, Montana; it was the predicate crime for the § 924( c) charge in Count 5.

Adams did not plead guilty to Count 2, which arose from robbery of a Thriftway

Store in Butte, Montana, but it was the predicate crime for the§ 924(c) charge in

Count 3. The plea agreement recited the following elements:

       18 USC§ 1951-Knowingly Interfere with Interstate Commerce By
       Robbery (Hobbs Act Robbery) (Count IV)

       First, that defendants induced persons at the Thriftway Store (Butte,
       MT) and Town Pump Food Store (Columbus, MT) to part with
       property;

       Second, that defendants did so knowingly and deliberately by robbery;
       and

       Third, that in doing so, interstate commerce was obstructed, delayed
       or otherwise affected.

       18 USC§ 924(c)-Use of a Firearm in Federal Crime of Violence
       (Counts III, V)

       First, the defendant committed the crime of Interference with
       commerce by threats or violence as charged in Count IV 1 of the
       indictment;

       1
          Elsewhere in the plea agreement, Adams acknowledged that he used and carried a
firearm during and in relation to a crime of violence "as charged in Count II of this Indictment,"
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       Second, the defendant knowingly used a firearm; and

       Third, the defendant knowingly used a firearm during and in relation
       to the crime.

Plea Agreement (Doc. 42) at 5-6 ,r 8.

       In exchange for Adams' guilty plea to Counts 3, 4, and 5, the United States

agreed to dismiss Counts 1, 2, 7 and 9. Id. at 2 ,r 5. Adams pied guilty. See

Minutes (Doc. 39).

       On March 12, 2009, Adams was sentenced to serve 84 months on Count 3,

96 months on Count 4, and 300 months on Count 5, all consecutive, for a total

prison term of 480 months. See Minutes (Doc. 64); Judgment (Doc. 66) at 2.

Adams did not appeal. His conviction became final on March 26, 2009. Gonzalez

v. Thaler, 565 U.S. 134, 150 (2012).

       Adams now seeks relief under the United States Supreme Court's recent

decision in Johnson v. United States,_ U.S. _, 135 S. Ct. 2551 (2015). See also

Welch v. United States,_ U.S._, 136 S. Ct. 1257, 1265 (2016) (holding that

Johnson applies to cases already final when it was issued).

                                   II. Legal Background

       A. 18 U.S.C. § 924(e)

       In Johnson v. United States,_ U.S. _, 135 S. Ct. 2551 (2015) ("Johnson"


that is, the Thriftway robbery. See Plea Agreement at 3 ,r 6(a).
                                                 3
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or "Johnson If'), the Supreme Court considered once again the meaning of a

provision in the Armed Career Criminal Act ("ACCA"), 18 U.S.C. § 924(e). The

ACCA imposes a harsher sentence on a person convicted of a firearms offense if

the person has three prior convictions for a violent felony or controlled substance

offense. The Act defines a "violent felony" as a felony that:

      (i) has as an element the use, attempted use, or threatened use of
      physical force against the person of another; or

      (ii) is burglary, arson, or extortion, involves use of explosives, or
      otherwise involves conduct that presents a serious potential risk of
      physical injury to another[.]

18 U.S.C. § 924(e)(2)(B). Johnson discussed only the italicized clause, commonly

called the "residual" clause.

      The Supreme Court found the residual clause so vague that it deprived

defendants of fair notice of the consequences of their decisions and so loose that it

invited arbitrary enforcement. Therefore, the decision held, federal sentencing

courts may no longer enhance a defendant's sentence based on a prior conviction

when that conviction qualifies as a "violent felony" only under the residual clause.

See Johnson, 135 U.S. at 2555-60, 2563.

      Johnson did not address either subsection (i) or the first line of subsection

(ii) in§ 924(e)(2)(B). Those provisions remain valid.

      B. 18 U.S.C. § 924(c)(3)

      Adams challenges his conviction not under the ACCA but under 18 U.S.C. §
                                          4
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924( c )(1 )(A) and (ii) for using or carrying and brandishing a firearm during and in

relation to a "crime of violence." The definition of a "crime of violence" in§

924(c)(3) is not identical to the definition of a "violent felony" in§ 924(e)(2)(B),

but it is similar:

       (3) For purposes of this subsection[§ 924(c)] the term "crime of
       violence" means an offense that is a felony and-

       (A)     has as an element the use, attempted use, or threatened use of
               physical force against the person or property of another, or

       (B)     that by its nature, involves a substantial risk that physical force
               against the person or property of another may be used in the
               course of committing the offense.

18 U.S.C. § 924(c)(3).

       The Court will assume, for the sake of argument, that the residual clause in §

924(c)(3)(B) is unconstitutionally vague for the reasons explained in Johnson. See

Dimaya v. Lynch, 803 F.3d 1110, 1120 (9th Cir. 2015) (holding the residual clause

of 18 U.S.C. § 16(b), which is virtually identical to§ 924(c)(3)(B),

unconstitutionally vague under Johnson), cert. granted, No. 15-1498 (U.S. Sept.

29, 2016). 2

       But, even so, Adams' conviction and sentence under § 924( c) would still be

valid if the "crime of violence" he committed "ha[ d] as an element the use,




       2
         On June 26, 2017, the Supreme Court adjourned without deciding the case. It was
reargued on October 2, 2017.
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attempted use, or threatened use of physical force against the person or property of

another." 18 U.S.C. § 924(c)(3)(A).

       For the following reasons, Adams' conviction and sentence remain valid

after Johnson.

                                        III. Analysis

       A. Adams' Predicate Crime Was Hobbs Act Robbery

       Adams pled guilty to violating 18 U.S.C. § 1951 because he "did unlawfully

take and obtain personal property ... by means of actual and threatened force,

violence, and fear of injury, immediate and future, to ... persons and property."

Indictment (Doc. 1) at 416(a)-(c); see also 18 U.S.C. § 1951(b)(l) (defining

robbery).

       The predicate crime for Adams' conviction under § 924( c), therefore, is

robbery as defined by the Hobbs Act. To prevail on his§ 2255 motion, Adams

must show that robbery under the Hobbs Act is not a "crime of violence."

       B. Hobbs Act Robbery is a Crime of Violence

       The parties agree that United States v. Mendez, 992 F.2d 1488 (9th Cir.

1993 ), is a relevant precedent. They disagree about what it means. 3 Mendez held



       3
          Although Adams asserts that "the analysis employed by the court in Mendez is no
longer valid" after Johnson, see Mot. § 2255 (Doc. 90) at 13 n.5, he relies on Mendez to suggest
the Hobbs Act is indivisible-that is, that it defines one crime with one set of elements and
various means of meeting those elements. Adams quotes Mendez's observation that the Hobbs
Act "defines a crime using several permutations, any one of which constitutes the same offense."
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    that conspiracy to commit a Hobbs Act robbery is a "crime of violence" under §

    924(c)(3)(B). See Mendez, 992 F.2d at 1491-92. After Johnson, that conclusion is

    questionable.

           But before considering the status of conspiracy to commit a Hobbs Act

    robbery, the Mendez court stated that a Hobbs Act robbery is a crime of violence

    under§ 924(c)(3)(A). It said:

           Robbery indisputably qualifies as a crime of violence. See 18 U.S.C.
           § 1951 (b )(1) (containing element of "actual or threatened force, or
           violence").

    Mendez, 992 F .2d at 1491.

           The parenthetical phrase describing robbery as containing an "element" of

    "actual or threatened force, or violence" refers to § 924(c)(3)(A)'s requirement that

    a crime of violence have, "as an element, the use, attempted use, or threatened use

    of physical force." Mendez was not a Hobbs Act robbery case, but its

    characterization of Hobbs Act robbery.as a crime of violence under§ 924(c)(3)(A)




    Mendez, 992 F.2d at 1490, quoted in Mot. § 2255 at 13. And, to show that a defendant can be
    convicted under the Hobbs Act even where there is no use or attempted or threatened use of
    physical force, he cites Hobbs Act extortion cases, not robbery cases. See Mot. § 2255 at 15
    (citing United States v. Villalobos, 748 F.3d 953 (9th Cir. 2014); United States v. Sturm, 870
    F.2d 769 (1st Cir. 1989)). These cases are relevant to Adams' case only if Mendez dictates that
    literally all Hobbs Act "permutations" constitute "the same offense," so that robbery and
    extortion are different means of committing one crime, viz., unlawfully obtaining the property of
    another by unlawful force or threats.
             As explained below, Mendez has been treated and should be read to say that the Hobbs
    Act is divisible and robbery and extortion are two different elements of a Hobbs Act violation or
    two different crimes under the Hobbs Act.
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has been treated as binding precedent in the Ninth Circuit. See, e.g. , United States

v. Howard, 650 Fed. Appx. 466,468 (9th Cir. 2016); United States v. Allen, 425

F.3d 1231, 1234 n.3 (9th Cir. 2005); United States v. Shivers, 172 F.3d 60, 1999

WL 77960 (9th Cir. Feb. 16, 1999) (unpublished mem. disp.).

      A panel of the Ninth Circuit criticized Mendez because it announced the rule

"without any analysis of the elements of robbery as defined in the Hobbs Act."

United States v. Chandler, 743 F.3d 648, 658 (9th Cir. 2014), vacated,_ U.S._,

135 S. Ct. 2926 (2015) (vacating and remanding in light of Johnson). Mendez

might be "illogical" or "questionable." Chandler, 743 F.3d at 658. But, even if it

is, that does not mean this Court can ignore it.

      Under the Ninth Circuit's ruling in Mendez, a Hobbs Act robbery is a crime

of violence under the force clause, § 924(c)(3)(A). Johnson has no bearing on§

924(c)(3)(A). If Mendez is still good law, it defeats Adams' § 2255 motion.

      C. As to Robbery, Mendez Remains the Law in the Ninth Circuit

      Adams ' convictions under§ 924(c) are not subject to challenge if the portion

of Mendez holding a Hobbs Act robbery to be a crime of violence under §

924( c)(3 )(A) is still the law of the Ninth Circuit. Generally, a published decision

of the Ninth Circuit Court of Appeals is binding authority that "must be followed

unless and until overruled by a body competent to do so." Hart v. Massanari, 266

F.3d 1155, 1170 (9th Cir. 2001). Neither the Ninth Circuit nor the Supreme Court


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has overruled any part of Mendez.

      But a published decision loses its precedential force when subsequent

binding precedent has "undercut the theory or reasoning underlying the prior

circuit precedent in such a way that the cases are clearly irreconcilable." Gonzalez

v. Arizona, 677 F.3d 383, 389 n.4 (9th Cir. 2012) (en bane) (quoting Miller v.

Gammie, 335 F.3d 889, 900 (9th Cir. 2003) (en bane); Hart, 266 F.3d at 1170;

Jeffries v. Wood, 114 F.3d 1484, 1489 (9th Cir. 1997) (en bane)), overruled in part

by Gonzalez, 677 F.3d at 389 n.4. In that case, district courts must instead

"consider themselves bound by the intervening higher authority and reject the prior

opinion ... as having been effectively overruled." Gonzalez, 677 F.3d at 389 n.4.

      Because Mendez has not been overruled, the question is whether it is

"clearly irreconcilable" with any of the more recent decisions that Adams invokes:

Mathis v. United States,_ U.S._, 136 S. Ct. 2243 (2016); Descamps v. United

States,_ U.S._, 133 S. Ct. 2276 (2013); Johnson v. United States, 559 U.S. 133

(2010) ("Johnson I"); Leocal v. Ashcroft, 543 U.S. 1 (2003); and the various circuit

decisions applying these cases. See generally Mot. § 2255 at 10-18.

             1. Mendez Can Be Reconciled With Mathis and Descamps

      Mendez was decided many years before the Supreme Court clarified, in

Descamps and again in Mathis, that "the first task for a sentencing court faced with

an alternatively phrased statute is ... to determine whether its listed items are


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elements or means." Mathis, 136 S. Ct. at 2256. The distinction between elements

and means is important because it indicates whether a particular statute indivisibly

defines a single crime, merely citing different ways of proving its elements, or,

instead, whether a statute defines more than one crime, each with its own discrete

set of elements. Whether a statute defines one crime that can be committed by

various means or two or more crimes with different sets of elements matters a lot

in categorical analysis; every means of committing a particular crime must qualify

as a "crime of violence" if any means of committing it is to be one. See Mathis,

136 S. Ct. at 2248-49, 2256; Almanza-Arenas v. Lynch, 815 F.3d 469, 476-79 (9th

Cir. 2015) (en bane); Ramirez v. Lynch, 810 F.3d 1127, 1134-38 (9th Cir. 2016).

When a statute is divisible, therefore, not every conviction incurred under the

statute must have the use or attempted or threatened use of physical force as an

element.

      As related to the Hobbs Act, for instance, if the Act is indivisible, every

instance of violating the Act must involve force. And plainly it doesn't; extortion

under color of official right, for instance, is committed by inducing a victim to part

with property by wrongfully threatening to use an office to the victim's detriment.

Force need not be involved. See, e.g., 18 U.S.C. § 1951(b)(2). But if the Hobbs

Act is divisible-say, into robbery or extortion-then a Hobbs Act robbery might

be a "crime of violence" while a Hobbs Act extortion is not.


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       Mendez contains some language suggesting the Hobbs Act is indivisible.

The court says the Act "defines a crime using several permutations, any one of

which constitutes the same offense." Mendez, 992 F.2d at 1490 (emphasis added).

Taken literally, this statement would seem to mean that § 1951 (a) is indivisible, at

least as to some of the terms used in the subsection.

       But the reasoning of the opinion suggests this statement should not be taken

literally:

       A person may be convicted for violating § 1951 ifhe interferes with
       interstate commerce by robbery, extortion, attempting or conspiring to
       rob or extort, or committing or threatening violence in furtherance of a
       plan or purpose to violate the statute. Thus the question arises
       whether every permutation of§ 1951 must be a "crime of violence" to
       find categorically that a § 1951 offense is a "crime of violence," or
       whether a categorical finding requires only that the particular
       permutation for which the defendant is convicted be a "crime of
       violence."

Id. In other words, although it did not use the same terms as Descamps and

Mathis, Mendez clearly considered whether§ 1951(a) defined multiple crimes-

robbery, extortion, conspiracy to commit robbery, and so forth-or whether it

defined one crime-viz., interference with commerce by wrongful use of force or

threats.

       Further, Mendez concluded that the Hobbs Act defines more than one crime.

The court stated that, "where a defendant has been convicted under a statute

describing crimes [plural] of both violence and non-violence, we need only find


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that the charged crime for which the defendant was convicted constitutes a 'crime

of violence' to conclude categorically that the charged offense may serve as a

predicate for a§ 924(c) violation." Mendez, 992 F.2d at 1491. The court went on

to discuss only robbery, not extortion, and it considered robbery and conspiracy to

rob separately. Since the court did not consider extortion at all, it necessarily

(albeit implicitly) concluded it did not matter whether extortion was a crime of

violence or not.

      Therefore, Mendez tacitly held that§ 1951(a) of the Hobbs Act is divisible

and that robbery and extortion and conspiracy to commit robbery are separate

crimes. See Mendez, 992 F.2d at 1490-91 (discussing United States v. Potter, 895

F.2d 1231 (9th Cir. 1990) (construing Cal. Penal Code§ 261(a)(2)), and United

States v. Selfa, 918 F.2d 749 (9th Cir. 1990) (construing first and second

paragraphs of 18 U.S.C. § 2113(a)); see also Callanan v. United States, 364 U.S.

587, 595-97 (1961) (holding that Hobbs Act conspiracy is separate crime from

substantive offenses but declining to consider whether the "repetitive" nature of

"some of the substantive sections" indicates they are "variants in phrasing of the

same delict").

      If Mendez had reasoned or assumed that some robberies under the Hobbs

Act may be violent and others non-violent, it would indeed be irreconcilable with

Mathis and Descamps. But it is only necessary to translate Mendez's terms into the

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contemporary terminology and read the opinion as holding, in part, that 18 U.S.C.

§ 195 l(a) is divisible. Mathis and Descamps do not "undercut the theory or

reasoning underlying [Mendez] in such a way that the cases are clearly

irreconcilable." Gonzalez, 677 F.3d at 389 n.4.

             2. Mendez Can Be Reconciled With Johnson I (2010)

      Johnson I holds that a crime cannot be characterized as a "violent felony"

unless its elements require proof the defendant used "violent force-that is, force

capable of causing physical pain or injury to another person." Johnson I, 559 U.S.

at 140 (emphasis in original). A crime that may be proved by showing only a use

of "force" in the common-law sense, which includes a mere offensive touch, does

not require "violent force" and so cannot be a "violent felony." Id. at 139.

      Every federal appellate court that has considered the issue after Johnson I

has held that a Hobbs Act robbery necessarily requires proof of the use or

attempted or threatened use of physical force against the person or property of

another within the meaning of§ 924(c)(l)(A). See, e.g., United States v. Rivera,

847 F.3d 847, 848-49 (7th Cir. 2017); United States v. Gooch, 850 F.3d 285, 290-

92 (6th Cir.), cert. denied, No. 16-9008 (U.S. June 5, 2017); United States v. Hill,

832 F.3d 135, 138-39 (2d Cir. 2016); United States v. House, 825 F.3d 381,387

(8th Cir. 2016); In re St. Fleur, 824 F.3d 1337, 1340 (11th Cir. 2016). As the

United States points out, the traditional concept of robbery is closely related to

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physical violence. Black's Law Dictionary "defines 'physical force' as '[f]orce

consisting in a physical act, esp. a violent act directed against a robbery victim."

Resp. to § 2255 Mot. (Doc. 101) at 12 (quoting Johnson I, 559 U.S. at 139

(emphasis added) (quoting Black's Law Diet. 717 (9th ed. 2009)). The current

federal generic definition of robbery does not mention force per se, but it consists

of "aggravated larceny, containing at least the elements of misappropriation of

property under circumstances involving immediate danger to the person." United

States v. Becerril-Lopez, 541 F.3d 881,891 (9th Cir. 2008) (emphasis altered)

(quoting United States v. Santiesteban-Hernandez, 469 F.3d 376, 380 (5th Cir.

2006), abrogated in part by United States v. Rodriguez, 711 F.3d 541, 554-55 (5th

Cir. 2013) (en bane)).

       Seeking to avoid the weight of this authority, Adams cites cases interpreting

statutes containing similar language and holding that a de minimis use of force

satisfies their "use of force" elements. See, e.g., United States v. Parnell, 818 F .3d

974, 978-82 (9th Cir. 2016). 4 But Adams does not cite a case, and the Court is not


       4
          One such case is---or was-United States v. Jones, 830 F.3d 142, No. 15-1518-cr (2d
Cir. July 21, 2016). At the time Adams filed his reply brief, the case held that a conviction for
first-degree robbery under New York law, which is similar to the Hobbs Act, was no longer a
"crime of violence" under the career offender guideline, U.S.S.G. § 4B1.2(a). See Jones, No. 15-
1518-cr, Opinion (Doc. 96-1) at 19 (2d Cir. July 21, 2016). But the United States petitioned for
rehearing, both on the court's reasoning as to the degree of force under Johnson I and as to the
application of Johnson II to the Sentencing Guidelines. See generally U.S. Pet. for Reh' g (Doc.
108), Jones, No. 15-1518-cr (2d Cir. filed Sept. 13, 2106). The court subsequently withdrew its
opinion. See Jones, 838 F.3d 296 (2d Cir. Oct. 3, 2016). It is now available only in the
electronic record of the case in Pacer.
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aware of one, holding that a purse-snatching type of robbery-for instance,

running past a pizza delivery driver and grabbing a collection pouch out of his

hands-meets the definition of a Hobbs Act robbery. If and when that happens,

Mendez might no longer be reconcilable with Johnson I. See Howard, 650 Fed.

Appx. at 468 n.l (citing United States v. Dominguez-Maroyoqui, 748 F.3d 918,

921 (9th Cir. 2014), and reserving the issue). But, so far as Adams can show, that

day has not arrived.

      Adams also cites cases sustaining convictions for extortion under the Hobbs

Act even where no violent physical force is involved. See Mot. § 2255 at 15

(citing United States v. Villalobos, 748 F.3d 953 (9th Cir. 2014); United States v.

Sturm, 870 F.2d 769 (1st Cir. 1989)). One can argue that the Hobbs Act's

definitions of robbery and extortion overlap with each other and differ significantly

from traditional definitions. Hobbs Act robbery reaches the act of taking another's

property by threatening future injury to the property of an absent family member.

That is more typical of extortion than robbery. See, e.g., 3 Wayne R. LaFave,

Substantive Criminal Law§ 20.3(a) intro., at 172-73 (2d ed. 2003); § 20.3(d), at

186-87; 20.4(a)(4) & n.16 at 200-03; § 20.4(b), at 203-04 & n.31.1 (2d ed. 2003 &

Supp. 2016-2017) (citing Becerril-Lopez, 541 F.3d at 891). But the difference

between Hobbs Act robbery and Hobbs Act extortion lies in robbery's requirement

that the defendant take or obtain property "from the person or in the presence of


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another" and "against his will," by means that may include actual or threatened

force, violence, or "fear of injury." The quoted phrases-none of which appear in

the definition of extortion-show that physical force is always involved in robbery,

a fact that distinguishes robbery from extortion under the Hobbs Act.

      Johnson I is not "clearly irreconcilable" with the Mendez court's holding

that Hobbs Act robbery has, as an element, the use or attempted or threatened use

of physical force against the person or property of another.

             3. Mendez Can Be Reconciled With Leocal

      Finally, Adams argues that the Hobbs Act fails to meet the mens rea

requirement of Leocal v. Ashcroft, 543 U.S. 1 (2003). Analogizing bank robbery

under 18 U.S.C. § 2113 to the Hobbs Act, see United States v. Holloway, 309 F.3d

649, 651-52 (9th Cir. 2002), he also argues that intimidation would suffice to meet

the elements of robbery and that intimidation requires only that the victim

experience it, not that the defendant intend to cause it. See Mot.§ 2255 at 15-18.

      On these points, the Court disagrees. Intimidation facilitates a taking when

it is perceived as a threat to use physical force. Adams is correct that a victim's

perception of a threat does not always mean the defendant made a threat. But the

Hobbs Act requires proof that a defendant obtain property "by robbery or

extortion." 18 U.S.C. § 1951(a) (emphasis added). The statute requires proof, in

other words, of goal-driven behavior by the defendant, be it a deployment of force

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or violence or intimidating threat, for the purpose of compelling or inducing

someone to give up property. Such conduct falls within the highest form of intent

required by Leocal: the use (or attempted or threatened use) of violence or

unlawful threats as a means to an end. See Leocal, 543 U.S. at 9. Leocal is easily

reconciled with Mendez.

      D. Conclusion: Adams' Motion is Controlled By Mendez

      As explained above, the question is whether Mendez is "clearly

irreconcilable" with subsequent Supreme Court decisions. The answer to that

question is at least "not clearly enough." Its manner of analysis may have been

incomplete or even incorrect, but it is not so clearly incomplete or incorrect that

this Court is bound to overlook it. Therefore, the Court must follow it.

      Because Mendez holds that a Hobbs Act robbery is a crime of violence under

§ 924(c)(3)(A), and because Johnson could only be pertinent to§ 924(c)(3)(B),

Johnson does not support relief for Adams. His § 2255 motion must be denied.

There is no need to consider the United States' procedural defenses.

                          IV. Certificate of Appealability

      A certificate of appealability is not warranted. Even if Mendez is no longer

good law, that fact would not help Adams to show that he was deprived of a

constitutional right. See 28 U.S.C. § 2253(c)(2). And even if§ 924(c)(3)(B) is

unconstitutional in light of Johnson, Johnson has no bearing on§ 924(c)(3)(A) or

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Mendez.


      Accordingly, IT IS HEREBY ORDERED:

      1. Adams' motion to vacate, set aside, or correct the sentence under 28

U.S.C. § 2255 (Doc. 90) is DENIED;

      2. A certificate of appealability is DENIED. The clerk shall immediately

process the appeal if Adams files a Notice of Appeal.

      3. The clerk shall ensure that all pending motions in this case and in CV 16-

86-BLG-SPW are terminated and shall close the civil file by entering judgment in

favor of the United States and against Adams.
                         ~
      DATED this    o?F/ day of November, 2017.



                                      United States District Court




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